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14
                                UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
   IN RE: SOCIAL MEDIA ADOLESCENT                 Case No. 4:22-MD-03047-YGR
17 ADDICTION/PERSONAL INJURY
   PRODUCTS LIABILITY LITIGATION,                 MDL No. 3047
18
                                                  OMNIBUS SEALING STIPULATION
19                                                (MARCH 3, 2025 ORDER RESOLVING
   THIS DOCUMENT RELATES TO ALL                   PRIVILEGE DETERMINATION AS TO
20 ACTIONS                                        FOURTEEN SNAP DOCUMENTS)
21                                                Judge: Honorable Yvonne Gonzalez Rogers
                                                  Magistrate Judge: Hon. Peter H. Kang
22

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                                                                   Case No. 4:22-MD-03047-YGR
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 1          Pursuant to Civil Local Rules 7-11 and 79-5, the Court’s Order on the Stipulated Third

 2 Modified Protective Order (ECF No. 1209), this Court’s Order Setting Sealing Procedures (ECF

 3 No. 341), and the instructions provided in this Court’s March 3, 2025 Order Resolving Privilege

 4 Determination As To Fourteen Snap Documents (“March 3, 2025 Order”) (ECF No. 1732),

 5 Plaintiffs and Defendant Snap Inc. (“Snap”) submit this Omnibus Stipulation Regarding the
 6 Court’s March 3, 2025 Order.

 7          The Parties agree that the following filings related to the March 3, 2025 Order should be

 8 sealed in their entirety, and so the current sealing should be maintained:

 9                                                                                            Whether
                             Portion to be     Designating
          Document                                                Basis for Sealing          Previously
10                              Sealed           Party
                                                                                               Sealed
11    Snap’s Exhibit B      Entire Exhibit     Snap           Good cause exists to seal     The Court
      Bates:                                                  sensitive and confidential    previously
12    SNAP6913291                                             information about Snap’s      granted the
      ECF No. 1732-1                                          internal ad review            parties’
13
                                                              practices, advertising and    stipulated
14                                                            business strategies,          request to
                                                              relationships with            seal the
15                                                            advertising partners, lens    same
                                                              product development,          exhibit
16                                                            and public relations          (which
17                                                            strategies. Disclosure of     featured
                                                              this information would        modified
18                                                            provide competitors with      redactions
                                                              insight into Snap’s           for
19                                                            business that they would      attorney-
                                                              not otherwise have and        client and
20                                                            thereby cause                 work-
21                                                            competitive harm to           product
                                                              Snap. See Ctr. for Auto       privilege) at
22                                                            Safety v. Chrysler Grp.,      ECF No.
                                                              LLC, 809 F.3d 1092,           1550-5.
23                                                            1097 (9th Cir. 2016)
                                                              (even under heightened
24                                                            compelling-reasons
25                                                            standard, it is appropriate
                                                              to seal “business
26                                                            information that might
                                                              harm a litigant’s
27                                                            competitive standing”
                                                              (citation omitted)); In re
28

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                   OMNIBUS SEALING STIPULATION REGARDING MARCH 3, 2025 ORDER
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 1                                                                                      Whether
                           Portion to be   Designating
          Document                                           Basis for Sealing         Previously
 2                            Sealed         Party
                                                                                         Sealed
 3                                                       Elec. Arts, Inc., 298 F.
                                                         App’x 568, 569 (9th Cir.
 4                                                       2008) (sealing
                                                         “confidential and
 5
                                                         commercially sensitive
 6                                                       information”); Prescott v.
                                                         Reckitt Benckiser LLC,
 7                                                       2023 WL 2465778, at *4
                                                         (N.D. Cal. Mar. 9, 2023)
 8                                                       (sealing “household
 9                                                       penetration rates” and
                                                         defendant’s “target
10                                                       consumer
                                                         demographics”); Cont’l
11                                                       Auto. Sys., Inc. v. Avanci,
                                                         LLC, 2019 WL 6612012,
12                                                       at *4 (N.D. Cal. Dec. 5,
13                                                       2019) (sealing “number
                                                         of customers using
14                                                       Plaintiff’s products”).
                                                         This Court has previously
15                                                       granted requests to seal
                                                         materials related to
16                                                       discovery disputes on this
17                                                       fundamental basis. See,
                                                         e.g., ECF Nos. 1242,
18                                                       1465, 1619.
      Snap’s Exhibit D   Entire Exhibit    Snap          Good cause exists to seal     The Court
19    Bates:                                             sensitive and confidential    previously
      SNAP6928318                                        information about Snap’s      granted the
20
      ECF No. 1732-2                                     internal moderation           parties’
21                                                       practices and business        stipulated
                                                         strategies. Disclosure of     request to
22                                                       this information would        seal the
                                                         provide competitors with      same
23                                                       insight into Snap’s           exhibit
                                                         business that they would      (which
24
                                                         not otherwise have and        featured
25                                                       thereby cause                 modified
                                                         competitive harm to           redactions
26                                                       Snap. See [above cited        for
                                                         case law]. This Court has     attorney-
27                                                       previously granted            client and
28                                                       requests to seal materials    work-
                                                         related to discovery          product
                                              -3-                 Case No. 4:22-MD-03047-YGR
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 1                                                                                     Whether
                           Portion to be   Designating
          Document                                           Basis for Sealing        Previously
 2                            Sealed         Party
                                                                                         Sealed
 3                                                       disputes on this             privilege) at
                                                         fundamental basis. See,      ECF No.
 4                                                       e.g., ECF Nos. 1242,         1550-9.
                                                         1465, 1619.
 5
      Snap’s Exhibit F   Entire Exhibit    Snap          Good cause exists to seal    The Court
 6    Bates:                                             sensitive and confidential   previously
      SNAP6955026                                        information about Snap’s     granted the
 7    ECF No. 1732-3                                     internal policy              parties’
                                                         enforcement                  request to
 8                                                       mechanisms, account          seal the
 9                                                       investigation practices,     same
                                                         and cooperation with law     exhibit
10                                                       enforcement                  (which
                                                         investigations. Disclosure   featured
11                                                       of this information would    modified
                                                         provide competitors with     redactions
12                                                       insight into Snap’s          for
13                                                       practices that they would    attorney-
                                                         not otherwise have and       client and
14                                                       thereby cause                work-
                                                         competitive harm to          product
15                                                       Snap. See [above cited       privilege) at
                                                         case law]. This Court has    ECF No.
16
                                                         previously granted           1550-13.
17                                                       requests to seal materials
                                                         related to discovery
18                                                       disputes on this
                                                         fundamental basis. See,
19                                                       e.g., ECF Nos. 1242,
                                                         1465, 1619.
20
      Snap’s Exhibit G   Entire Exhibit    Snap          Good cause exists to seal    The Court
21    Bates:                                             sensitive and confidential   previously
      SNAP6960749                                        information about Snap’s     granted the
22    ECF No. 1732-4                                     internal investigation       parties’
                                                         practices and cooperation    stipulated
23                                                       with law enforcement         request to
24                                                       investigations. Disclosure   seal the
                                                         of this information would    same
25                                                       provide competitors with     exhibit
                                                         insight into Snap’s          (which
26                                                       practices that they would    featured
                                                         not otherwise have and       modified
27                                                       thereby cause                redactions
28                                                       competitive harm to          for
                                                         Snap. See [above cited       attorney-
                                              -4-                 Case No. 4:22-MD-03047-YGR
                   OMNIBUS SEALING STIPULATION REGARDING MARCH 3, 2025 ORDER
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 1                                                                                            Whether
                              Portion to be     Designating
          Document                                                 Basis for Sealing         Previously
 2                               Sealed           Party
                                                                                               Sealed
 3                                                             case law]. This Court has    client and
                                                               previously granted           work-
 4                                                             requests to seal materials   product
                                                               related to discovery         privilege) at
 5
                                                               disputes on this             ECF No.
 6                                                             fundamental basis. See,      1550-15.
                                                               e.g., ECF Nos. 1242,
 7                                                             1465, 1619.
      Snap’s Exhibit H      Entire Exhibit      Snap           Good cause exists to seal    The Court
 8    Bates:                                                   sensitive and confidential   previously
 9    SNAP6969803                                              information about Snap’s     granted the
      ECF No. 1732-5                                           internal investigation       parties’
10                                                             practices, cooperation       stipulated
                                                               with law enforcement         request to
11                                                             investigations, and media    seal the
                                                               and communications           same
12                                                             strategies. Disclosure of    exhibit
13                                                             this information would       (which
                                                               provide competitors with     featured
14                                                             insight into Snap’s          modified
                                                               practices that they would    redactions
15                                                             not otherwise have and       for
                                                               thereby cause                attorney-
16
                                                               competitive harm to          client and
17                                                             Snap. See [above cited       work-
                                                               case law]. This Court has    product
18                                                             previously granted           privilege) at
                                                               requests to seal materials   ECF No.
19                                                             related to discovery         1550-17.
                                                               disputes on this
20
                                                               fundamental basis. See,
21                                                             e.g., ECF Nos. 1242,
                                                               1465, 1619.
22

23          Pursuant to this case’s sealing procedures, a Proposed Order implementing this stipulation
24 and slipsheets of Exhibits B, D, F, G, and H to be sealed in their entirety as agreed by the Parties

25 listed above are attached.

26

27          IT IS SO STIPULATED AND AGREED.
28

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                    OMNIBUS SEALING STIPULATION REGARDING MARCH 3, 2025 ORDER
     Case 4:22-md-03047-YGR    Document 1801      Filed 03/28/25    Page 6 of 11




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                 OMNIBUS SEALING STIPULATION REGARDING MARCH 3, 2025 ORDER
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 1                                          ATTESTATION

 2         I, Laura M. Lopez, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence

 3 to the filing of this document has been obtained from each signatory hereto.

 4

 5 DATED: March 28, 2025                        By:     /s/ Laura M. Lopez
                                                        Laura M. Lopez
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                   OMNIBUS SEALING STIPULATION REGARDING MARCH 3, 2025 ORDER
